Case 21-15377 Doc43 Filed 10/20/21 Pagei1of3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND

IN RE: *
BC CONCRETE OF CUMBERLAND, INC. Bankruptcy No. 21-15377-MCR
Debtor *
ROGER SCHLOSSBERG,
INTERM TRUSTEE *
18421 Henson Blvd. Suite 201
Hagerstown, MD 21742 *
Movant
Vv. *
MARY ROBIN DETRICK,
Respondents

* * * * *

CONSENT ANSWER OF MARY ROBIN DETRICK, CHADWICK J. STEINER,
AND MARSHA STEINER, PERSONAL REPRESENTATIVE OF THE
ESTATE OF JOHN G. STEINER, DECEASED TO
TRUSTEE’S MOTION TO SELLE PROPERTY OF ESTATE
FREE AND CLEAR OF ANY LIENS AND OTHER INTERESTS

TO THE HONORABLE MARIA ELLENA CHAVEZ-RUARK,BANKRUPTCY JUDGE:

NOW COMES the Respondents Mary Robin Detrick, Chadwick J. Steiner, and

Marsha Steiner, Personal Representative of the Estate of John G. Steiner, Deceased (the

“Respondents”), and in answer to the Trustee’s Motion to Sell Property of Estate Free

and Clear of Any Liens and Other interests )the “Motion’), hereby respectfully represents

as follows:
1. The Respondents CONSENT to that relief requested in the Motion.
WHEREFORE, the Respondents pray that this Honorable Court:

+. GRANT the Motion.

 
Case 21-15377 Doc43_ Filed 10/20/21 Page 2of3

2. ORDER such relief as the nature of this cause may require.

Respectfully submitted,

Merwe
G. GARY HANNA} *
71 Prospect Squdre
Cumberland, Mafyland 21502
(301)759-2777

ghanna.lf@gmail.com
AIN #7806010071

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 20 day of A7p2_2021, that a copy of the foregoing
was served electronically to those named recipients on the attached Electronic Mail Notice List
who are authorized to receive a Notice of Electronic Filing by the Court, and by first class mail,

postage prepaid to those recipients listed on the Mail dh

G. GARY HANNA

71 Prospect NN

Cumberland, Maryland 21502
(301}759-2777
ghanna.lf@gmail.com

AIN #7806010071

 
Case 21-15377 Doc43_ Filed 10/20/21 Page 3of3

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Manual Notice

 

 

 
